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IN THE UNITED STATES msch cOURT f f v
FOR THE WESTERN DISTRICT OF TENNESSEE 05 W“J ? `* " ` '
WESTERN DIVISION w if .,d rl|"l L*; L?\.‘
FE:: ..f`l:; L.?j_ ' 5_`: 1
vt 55 cé'~‘ 35 §§._m.-;-J:;§,

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20308-M1

CLARENCE PEGUES

Defendant(s)

v~_’\-._¢-...¢`,l~_¢-_/\-._¢\-._¢\-..¢`,»~.,¢

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, June 24, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
Date to Friday, July 22, 2005 at 9:00 a.m. with a trial date of Monday,
August 1, 2005 at 9:30 a.m.

The period from July 15, 2005 through August 12, 2005 is excludable
under lB U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the g day of June, 2005.

 
 
 

“’*-'e r'r~~"'¢'~nt entered on the docket
.-.-.zn Hu\e 55 and/or 32(b) FFlCrP on ' f

 

 

 

ISTRIC COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20308 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honcrable J on McCalla
US DISTRICT COURT

